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19                              UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA

21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
22   CASTILLO, and MONIQUE TRUJILLO                    DECLARATION OF JAMES LEE ISO
     individually and on behalf of all other similarly PLAINTIFFS’ MOTION FOR AN AWARD
23   situated,                                         OF ATTORNEYS’ FEES, COSTS, AND
24                                                     SERVICE AWARDS
                           Plaintiffs,
         v.                                            Judge:    Hon. Yvonne Gonzalez Rogers
25                                                     Date:     August 7, 2024
26   GOOGLE LLC,                                       Time:     2:00 p.m.
                           Defendant.                  Location: Courtroom  1 – 4th Floor
27

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 1                                  DECLARATION OF JAMES LEE
 2          I, James Lee, declare as follows.
 3          1.        I am a partner with the law firm of Boies Schiller Flexner LLP (“BSF”), counsel
 4   for Plaintiffs in this matter. I am an attorney at law duly licensed to practice before all courts of
 5   the State of Florida and admitted pro hac vice for this case. Dkt. 9. I have personal knowledge of
 6   the matters set forth herein and am competent to testify.
 7          2.        I submit this declaration in support of Plaintiffs’ Motion for Attorneys’ Fees,
 8   Costs, and Service Awards (the “Motion”).
 9          3.        The three law firms representing Plaintiffs—BSF, Morgan & Morgan, and
10   Susman Godfrey (collectively, “Counsel”)—were appointed by this Court to serve as Co-Lead
11   Class Counsel in this matter. We have collectively led the Classes’ efforts in this case.
12          4.        This declaration focuses on facts that bear on the Motion, including among other
13   things providing backgrounds on the expertise of BSF and BSF attorneys on this case,
14   summarizing our work litigating this case from its inception to its resolution, and our continued
15   work on behalf of the Classes.
16                    1. BSF Expertise
17          5.        BSF has extensive experience in handling complex class actions. For years, BSF
18   has successfully litigated cutting edge, high-stakes class actions on both the plaintiff-side and
19   defense-side, giving BSF the experience and knowledge necessary to provide the proposed
20   classes the best representation possible. BSF has used its experience on both sides of significant
21   class action cases to predict opposing counsel’s litigation strategy, uncover leverage points,
22   anticipate key issues, and accurately assess risk and manage costs. In the last decade, BSF has
23   collected billions of dollars in settlements on behalf of plaintiffs. But unlike many firms, BSF
24   also has extensive experience in trying complex cases, including class actions, to verdict. Notable
25   settlements and victories in complex cases include:
26                •   In re: Blue Cross Blue Shield Antitrust Litigation: BSF served as co-lead counsel
27                    in a class action on behalf of insureds against Blue Cross Blue Shield involving
28                                                     1
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 1            violations of the Sherman Act. The case was one of the most hotly contested cases
 2            in the last decade, involving over 30 separate defendants, more than 50 separate
 3            law firms, and over 1,000 lawyers. In 2020, Blue Cross Blue Shield agreed to
 4            settle the case for $2.7 billion, as well as injunctive relief that will impact the
 5            health insurance market across the country. The settlement was approved by the
 6            Northern District of Alabama and affirmed by the Eleventh Circuit.
 7        •   In re: Takata Airbag Products Liability Litigation: BSF served as co-lead counsel
 8            in this MDL class action involving a uniform defect in airbag inflators found in
 9            cars made by the world’s largest automakers. The Takata Airbag MDL has
10            resulted in over $1.5 billion in settlements to date, including specific, non-
11            monetary protections and relief for consumers who have had their automobiles
12            recalled as a result of the uniform defect.
13        •   National Prescription Opiate MDL: BSF serves as lead counsel on behalf of the
14            Cherokee Nation, in what was the MDL’s tribal bellwether case. BSF recently
15            secured a $75 million settlement against the opioid distributors and is preparing
16            for trial against the remaining defendant pharmacies Walmart, Walgreens, and
17            CVS.
18        •   Hoffman v. American Express: BSF represented American Express at trial and on
19            appeal in a certified nationwide class action where the plaintiffs sought to recover
20            more than $500 million. American Express brought in BSF after the class was
21            certified, and BSF secured and defended on appeal a judgment in favor of
22            American Express on all claims.
23        •   Mikaelyan v. Howard: BSF obtained dismissal of class action lawsuit asserting
24            violation of FACTA based on alleged printing of information on receipts, based
25            on inadequacies tied to standing and failure to adequately allege any willful
26            violation.
27

28                                            2
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 1               •   Satchell v. Golden State Warriors: BSF obtained dismissal with prejudice on
 2                   motions to dismiss brought by an alleged class of millions of users seeking billions
 3                   of dollars in statutory damages, in a data misuse class action involving sound-
 4                   based beacon technology for one of basketball’s favorite teams.
 5               •   Benton v. Clarity: BSF obtained dismissal in a data misuse class action involving
 6                   short-term loans data, after successful motion practice, where plaintiffs sought
 7                   billions of dollars in damages for millions of users, on the basis of the Fair Credit
 8                   and Reporting Act.
 9               •   Pavone v. LexisNexis: BSF defeated class certification in a precedential data
10                   misuse class action involving driver and vehicle data, which could have
11                   negatively affected the ability to use millions of public records nationwide.
12          6.       Through its creative, aggressive, and efficient approach to litigation, combined
13   with its proven track record of success, BSF has earned a world-class reputation in the class
14   action arena. The firm “is known as the go-to law firm for high stakes, high profile litigation”
15   (The Washington Post), and has been described as a firm of “casual brilliance” (The National
16   Journal), a “Galaxy of Bright Lights” (The American Lawyer), and “the most powerful litigation
17   turbine in America” (Law Dragon). Some of the most sophisticated companies, which have their
18   choice of virtually any law firm in the country, regularly choose BSF’s litigation expertise for
19   their most important matters. These clients include and have included, for example, Carnival
20   Corporation, NASCAR, Oracle Corporation, Federal Express, Altria, NextEra Energy, the New
21   York Yankees, and Sony Corporation of America.
22                   2. BSF Team Members
23          7.       The following are BSF Partners, Counsel, and Associates who billed work on this
24   matter, along with their personal biographies and descriptions of work completed on this case:
25          8.       David Boies: Mr. Boies has been the Chairman and a Managing Partner of BSF
26   since its founding in 1997. Mr. Boies has been selected as one of the 100 Most Influential People
27   in the World by Time Magazine (2010). He has been named Global International Litigator of the
28                                                 3
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 1   Year by Who’s Who Legal an unprecedented seven times. Mr. Boies has been named the Litigator
 2   of the Year by The American Lawyer; the Lawyer of the Year by The National Law Journal
 3   (twice); the Antitrust Lawyer of the Year by the New York Bar Association; named in the Forbes
 4   list of “America’s Top 200 Lawyers” in 2024; Best Lawyers in America from 1987–2021; Law
 5   Dragon 500 Leading Lawyers; and an Eminent Practitioner by Chambers USA. He was named
 6   one of the Top 50 Big Law Innovators of the Last 50 Years by The American Lawyer in 2013.
 7          9.        Mr. Boies is the recipient of Honorary Doctor of Laws from the University of
 8   Redlands (2000), New York Law School (2007), University of New Hampshire School of Law
 9   (2013), and New York University (2013) and an Honorary Doctor of Letters from the Chicago
10   Theological Seminary (2011). His awards include the Award of Merit from Yale Law School,
11   the ABA Medal from the American Bar Association, the Vanderbilt Medal from New York
12   University Law School, the Pinnacle Award from the International Dyslexia Association, the
13   William Brennan Award from the University of Virginia, the Role Model Award from Equality
14   Forum, the Lead by Example Award from the National Association of Women Lawyers, the
15   Torch of Learning Award from the American Friends of Hebrew University, the Eisendrath
16   Bearer of Light Award from the Union for Reform Judaism, and a Lifetime Achievement Award
17   from the Mississippi Center for Justice.
18          10.       Mr. Boies served as Chief Counsel and Staff Director of the United States Senate
19   Antitrust Subcommittee in 1978 and Chief Counsel and Staff Director of the United States Senate
20   Judiciary Committee in 1979. In 1991–93, he was counsel to the Federal Deposit Insurance
21   Corporation, recovering $1.2 billion from companies who sold junk bonds to failed savings and
22   loan associations. In 1998–2000, he served as Special Trial Counsel for the United States
23   Department of Justice in its antitrust suit against Microsoft. U.S. v. Microsoft Corp., 98-cv-1232
24   (TPJ) (D.D.C.). Mr. Boies also served as the lead counsel for former Vice-President Al Gore in
25   connection with litigation relating to the 2000 election Florida vote count. Bush v. Gore, 531 U.S.
26   98 (2000). As co-lead counsel for the plaintiffs in Perry v. Brown, he won the first judgment
27

28                                                    4
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 1   establishing the right to marry for gay and lesbian citizens under the U.S. Constitution. 671 F.3d
 2   1052, 1096 (9th Cir. 2012).
 3          11.     Mr. Boies attended the University of Redlands (1960–62), and received a B.S.
 4   from Northwestern University (1964), an LL.B., magna cum laude from Yale University (1966),
 5   and an LL.M. from New York University (1967). He is a member of Phi Beta Kappa, a Fellow
 6   of the American College of Trial Lawyers and the International Academy of Trial Lawyers; and
 7   a Trustee of the National Constitution Center, Cold Spring Harbor Laboratory, New York
 8   University Law School Foundation and St. Luke’s- Roosevelt Hospital Center. He is the author
 9   of numerous publications including Courting Justice (2004), Redeeming the Dream (with Ted
10   Olson), and Public Control of Business (with Paul Verkuil), published by Little Brown in 1977.
11   He has taught courses at New York University Law School and Cardozo Law School.
12          12.     Recently, Mr. Boies was Plaintiffs’ counsel in the In re Blue Cross Blue Shield
13   Antitrust Litigation, 13-cv-20000 (N.D. Ala.). There, he and others argued that the Blue Cross
14   Blue Shield business structure violated antitrust laws and stifled competition, resulting in the
15   largest monetary settlement ever in an antitrust class action without a government investigation—
16   $2.67 billion—and significant injunctive relief to improve competition in the health care market.
17   This settlement was recently upheld by the Eleventh Circuit. In re Blue Cross Blue Shield
18   Antitrust Litig., 85 F.4th 1070, 1102 (11th Cir. 2023). Mr. Boies also represented victims of
19   Jeffrey Epstein’s sex trafficking beginning in 2014. He sued, and recovered compensation from,
20   Epstein and several of Epstein’s collaborators prior to Epstein’s arrest. Last year, Mr. Boies
21   recovered $290 million for Epstein’s victims from JP Morgan Chase based on the bank’s
22   facilitating the sex trafficking by providing banking services to Epstein. Doe 1 v. JP Morgan
23   Chase & Co., 22-cv-10019, Dkt. 284 (S.D.N.Y. Nov. 13, 2023).
24          13.     For this case, Mr. Boies conducted many of the most critical oral arguments,
25   including on Plaintiffs’ successful motions for Google to be sanctioned for repeated discovery
26   misconduct, opposing Google’s motion for summary judgment as to all claims, and pretrial
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28                                                 5
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 1   motions. Mr. Boies led BSF’s successful involvement in mediation and settlement negotiations
 2   with Google, and also co-drafted Plaintiffs’ motion for settlement approval.
 3          14.      Mark C. Mao: Mr. Mao, a Partner at BSF’s San Francisco office and the Practice
 4   Group Leader of BSF’s IP Litigation Practice Group, is one of the country’s leading experts in
 5   the privacy field. He has resolved more than 400 cases in litigation. The consumer class actions
 6   he resolves often include evolving privacy and regulatory issues, such as in the areas of data
 7   breach and misuse, product liability, wiretap acts, the Fair Credit Reporting Act, and unfair and
 8   deceptive acts and practices litigation. Mr. Mao is certified by the International Association of
 9   Privacy Professionals and was one of its first Fellows of Information Privacy. He is also a
10   Certified Information Privacy Technologist and a Certified Information Privacy Professional for
11   the United States, having completed over a hundred various privacy compliance and transactional
12   projects. In addition to having litigated important privacy cases such as Satchell v. Golden State
13   Warriors, Benton v. Clarity, and Pavone v. LexisNexis, Mr. Mao’s experience also includes the
14   following representative matters:
15          •     Lozano v. CodeMetro: Favorably resolved data breach class action claim in Southern
16                California against a medical services software provider against hundreds of thousands
17                of consumers.
18          •     Winstead v. ComplyRight: Favorably resolved data breach class action claim in N.D.
19                Ill. between publishing company and hundreds of thousands of consumers.
20          •     Nguyen et al. v. Caboki: Obtained dismissal and costs against class action claims
21                alleging illegal recording by customer support of retailer seeking tens of millions of
22                dollars in statutory damages.
23          •     CFPB v. The Source For Public Data: Obtained a district court and then an appellate
24                court win in case against the Consumer Financial Protection Bureau alleging that a
25                data sourcing company may be a consumer reporting agency.
26          •     BaronsMedia.com v. Exponential Interactive, Inc. and related cases: Obtained
27               favorable resolution against over a dozen business claimants, who alleged that they
28                                                   6
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 1                were substantially overcharged for years of targeted advertising services, involving
 2                hundreds of millions of transactions.
 3          •     Koenig v. Lime Crime Inc.: Obtained a favorable resolution in a data breach class
 4                action involving malicious code injection in one of the web’s most popular social
 5                influencer websites.
 6          •     Koles v. Yapstone, Inc. (In re Yapstone Data Breach Litig.): Obtained a favorable
 7                resolution in a data breach class action involving the alleged vulnerability of a popular
 8                payment application and relating to the records of hundreds of thousands of
 9                consumers.
10          •     Piper v. Brian Kemp: Obtained dismissal, without filing motions to dismiss, in one of
11                the Southern United States’ largest data breaches allegedly involving over six million
12                vote records.
13          15.      Mr. Mao graduated from the University of California, Berkeley School of Law,
14   and is currently the alumni president for the home chapter of the law school.
15          16.      For this case, Mr. Mao designed the case theories, led all pre-suit investigation
16   efforts, and continued to direct case strategy throughout the litigation. He also either drafted or
17   co-drafted all iterations of the complaint and all substantive motions, including oppositions to
18   motions to dismiss, Plaintiffs’ motion for class certification and pertinent reply, Daubert motions,
19   and Plaintiffs’ opposition to Google’s motion for summary judgment, and participated in oral
20   argument on all of these motions. Mr. Mao also took the deposition of Google employees Glen
21   Bernston, Bert Leung, Jonathan Mcphie, and Stephen Chung (30(b)(6) deposition) and attended
22   and provided strategic advice for several other depositions in this litigation. He also took the
23   deposition of Google expert Konstantinos Psounis. Critically, Mr. Mao served as the lead lawyer
24   for Plaintiffs in the Special Master process. He also worked closely with all technical experts in
25   this case to ensure Plaintiffs’ case theories captured all of the ways in which Google improperly
26   captured, saved, and used Plaintiffs’ private data. Mr. Mao also co-led the mock jury exercises,
27   formulating strategies to test and conducting mock oral argument. Mr. Mao was actively involved
28                                                   7
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 1   in trial preparation, mediation, and reaching settlement with Google. He also played a significant
 2   role in drafting the settlement term sheet and settlement agreement.
 3          17.     James Lee: Mr. Lee, a Partner in BSF’s Miami office and Practice Group Leader
 4   of BSF’s Class Actions, Opt-Outs, and Multi-District Litigation Practice Group, serves as trial
 5   counsel in high-stakes litigation across several practice areas. He has served as lead counsel and
 6   trial counsel on behalf of plaintiffs and defendants in numerous complex matters ranging from
 7   product liability, securities, and commercial litigation. He has been tapped to serve as trial
 8   counsel by high profile clients such as Philip Morris USA, FedEx Ground, and World Fuel
 9   Services. He has tried numerous high-stakes cases to verdict. He is currently serving as lead
10   counsel in defending class actions on behalf of Lens.com and Copart. He also has significant
11   experience representing plaintiff classes in large scale class actions, such as serving as co-lead
12   counsel for BSF in its representation of the plaintiff class in the Takata Airbag MDL. His work
13   in that case helped to achieve over $1.5 billion in settlements on behalf of class members. Mr.
14   Lee graduated from Stanford Law School.
15          18.     For this case, Mr. Lee was fundamental in the pre-suit investigation, formulating
16   the initial theory of the case, drafting the initial complaint, serving as BSF’s primary contact for
17   all of the named Plaintiffs, and leading the preparation of all of the named Plaintiffs’ depositions.
18   Mr. Lee continued to actively craft litigation strategy and oversee day-to-day operations of the
19   case, including leading Plaintiffs’ defensive discovery efforts. Mr. Lee drafted or co-drafted
20   several substantive motions in this case, including oppositions to Google’s motions to dismiss,
21   Plaintiffs’ motions to compel, Plaintiffs’ motion for class certification and reply, oppositions to
22   Google’s Daubert motions, and the opposition to Google’s motion for summary judgment. Mr.
23   Lee took the deposition of the head of Chrome Privacy and Incognito Mode (Sabine Borsay). He
24   also defended the majority of the named Plaintiffs’ depositions, the depositions of Plaintiffs’
25   experts Mark Keegan and Michael Lasinksi, and the deposition of whistleblower Blake Lemoine
26   just weeks before Google agreed to settle this case. He handled oral argument for BSF on
27   Google’s motion to dismiss, Google’s Daubert motion on Michael Lasinski, and several
28                                                8
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 1   significant pretrial motions. Mr. Lee also co-led the mock jury exercises, formulating strategies
 2   to test and conducting mock oral argument. Mr. Lee was actively involved in trial preparation,
 3   mediation, and reaching settlement with Google. He also played a significant role in drafting the
 4   settlement term sheet and settlement agreement.
 5          19.     Beko Reblitz-Richardson: Mr. Reblitz-Richardson, a Partner at BSF’s San
 6   Francisco office and a Practice Group Leader of BSF’s Cybersecurity and Data Privacy Practice
 7   Group, is an experienced trial lawyer who has successfully litigated matters for plaintiffs and
 8   defendants in privacy matters and class action cases. Since joining BSF in 2005, he has obtained
 9   favorable trial and pre-trial outcomes in a number of significant class actions. To name a few, in
10   Hoffman v. American Express, he represented American Express at trial, secured a judgment in
11   favor of American Express on all claims, and then successfully defended that judgment on appeal.
12   In Mikaelyan v. Howard, he obtained a dismissal of a class action lawsuit. Mr. Reblitz Richardson
13   also represented Oracle at trial in a number of actions, including one where the firm obtained a
14   $1.3 billion jury verdict against SAP and one where the firm obtained an award of over $100
15   million against Rimini Street. Mr. Reblitz-Richardson was also a part of the team that
16   successfully represented Starr International at trial with AIG, securing a judgment for Starr
17   International. Mr. Reblitz-Richardson also represented the plaintiffs at trial and on appeal in their
18   challenge to California’s Proposition 8, litigation that restored the right of same-sex couples to
19   marry in California. His other clients have included Sony, Tyco, Broadcom, HSBC, and others.
20   Mr. Reblitz-Richardson graduated from the University of California, Berkeley School of Law.
21          20.     For this case, Mr. Reblitz-Richardson supervised the day-to-day work of the BSF
22   team. Mr. Reblitz-Richardson took an active role in key parts of the case, including leading
23   Plaintiffs’ offensive discovery, expert witness development, drafting or co-drafting major briefs
24   and preparing other lead attorneys for significant hearings. Mr. Reblitz-Richardson drafted or co-
25   drafted the majority of the motions to compel, discovery requests to Google, and emails to
26   Google counsel. He also handled a significant number of the meet and confers with Google. Mr.
27   Reblitz-Richardson prepared for and took many depositions, including the depositions of Google
28                                                 9
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 1   employees Dr. Adrienne Porter Felt, Brian Rakowski, Greg Fair, Abel Mardini, Ramin Halavati,
 2   Chris Liao, and Jesse Adkins (30(b)(6) deposition). He likewise took the depositions of key
 3   Google experts On Amir and Bruce Strombom. He also was a lead lawyer in Plaintiffs’ expert
 4   witness development, including experts Mark Keegan and Michael Lasinski. Mr. Reblitz-
 5   Richardson drafted or co-drafted Plaintiffs’ oppositions to Google’s Motions to Dismiss, Motion
 6   for Class Certification, Motion for Summary Judgment, and all briefing that resulted in discovery
 7   sanctions against Google. Mr. Reblitz-Richardson was actively involved in trial preparation,
 8   mediation, and reaching settlement with Google. He also played a significant role in drafting the
 9   settlement term sheet and settlement agreement.
10          21.     Alexander Boies: Mr. Boies is a Partner at BSF’s Armonk office and is an
11   experienced litigator who handles disputes across diverse practice areas, including class actions,
12   sports and gaming related disputes, and labor and employment. Recently, Mr. Boies represented
13   insureds in the In re: Blue Cross Blue Shield Antitrust Litigation, including by working to secure
14   settlement approval which was affirmed by the Eleventh Circuit. Mr. Boies graduated with his
15   J.D. from New York University School of Law.
16          22.     For this case, Mr. Boies was fundamental in developing arguments and strategies
17   for some of the most important hearings, including multiple sanctions hearings, class
18   certification, and summary judgment. Mr. Boies played a significant role in providing technical
19   and strategic advice for the lead attorneys throughout the case. Mr. Boies was also fundamental
20   in preparing materials for trial and contributed throughout the mediation and settlement process
21   with Google.
22          23.     Alison Anderson: Ms. Anderson, a Partner in BSF’s Los Angeles office, is a
23   seasoned trial lawyer with significant experience litigating complex criminal fraud trials,
24   including taking seven cases to jury trials. Ms. Anderson joined BSF in the fall of 2021 after
25   working in the Fraud Section of the Criminal Division of the U.S. Department of Justice for
26   nearly a decade, first as a trial attorney in the Securities and Financial Fraud Unit and later as an
27   Assistant Deputy Chief in the Strategy, Policy, and Training Unit. Ms. Anderson’s trial
28                                                10
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 1   experience included co-leading the team in the high-profile United States v. Connolly matter,
 2   which has influenced the way corporate clients approach cooperation with government
 3   investigations and the way defense counsel are litigating these issues on behalf of individual
 4   clients. She also conducted high-profile investigations of Fortune 500 companies like Deutsche
 5   Bank and Volkswagen, securing resolutions that levied significant fines and established
 6   compliance monitorships. As an Assistant Deputy Chief, Alison oversaw the agency’s recent
 7   criminal corporate resolutions with The Boeing Company, JPMorgan Chase & Co., Bank of
 8   Nova Scotia, United Airlines, Inc., and others. Since joining BSF, Ms. Anderson has worked on
 9   matters involving class actions, trade secrets, antitrust, breach of contract, and criminal defense.
10   Ms. Anderson clerked for the Honorable Johnnie Rawlinson of the United States Court of
11   Appeals for Ninth Circuit, and the Honorable Eduardo Robreno of the United States District
12   Court for the Eastern District of Pennsylvania and graduated from Rutgers School of Law –
13   Camden.
14          24.     For this case, Ms. Anderson was instrumental in litigating Plaintiffs’ request for
15   supplemental sanctions and co-drafted Plaintiffs’ response to the Court’s order to show cause as
16   to why Google should not be sanctioned for belatedly disclosing data sources containing
17   Incognito-detection bits and a fourth detection bit. In addition to preparing the briefing, Ms.
18   Anderson also handled key parts of the evidentiary hearing that resulted in discovery sanctions
19   against Google. Ms. Anderson was also actively engaged in preparing for the class certification
20   hearing. She also played a key role in preparing Plaintiffs’ trial plan and mediation statement.
21          25.     Joshua Stein: Mr. Stein, a Partner at BSF’s San Francisco office, is an
22   experienced litigator who has held key roles as both in-house and outside counsel for some of
23   the most significant litigation matters of the past decade. Before rejoining BSF as a Partner, Mr.
24   Stein served as the Director of Litigation and Operations at Clipboard Health, where he was
25   responsible for class action litigation, investigations, and crisis management. Prior to that he
26   served as in-house counsel at Twitter, where he defended the company in a number of noteworthy
27   content-related cases, including spearheading the work in Twitter’s successful cert. petition to
28                                                 11
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 1   the U.S. Supreme Court in Taamneh v. Twitter. 598 U.S. 471 (2023). Mr. Stein clerked for the
 2   Honorable Ferdinand Fernandez of the United States Court of Appeals for the Ninth Circuit,
 3   earned his J.D. from Yale Law School, and his Ph.D. in United States history from the University
 4   of California, Los Angeles.
 5          26.     Since rejoining the firm in October 2023 Mr. Stein has been intimately involved
 6   in all facets of this litigation. He actively engaged in the settlement process, directed filings, and
 7   contributed to numerous briefs, including this Motion and also Plaintiffs’ motion for settlement
 8   approval.
 9          27.     Nicholas Gravante: Mr. Gravante was formerly a Co-Managing Partner at BSF’s
10   New York City office. Mr. Gravante has consistently been recognized as one of the country’s top
11   litigators. His extensive trial experience focuses on the areas of business crimes and complex
12   commercial litigation. He has negotiated non-prosecution agreements for publicly traded
13   companies and has won exoneration of numerous individuals, non-profit entities, Fortune 500
14   companies, and a major national university in federal and state grand jury and regulatory
15   investigations. He also served as counsel to the former CEO of a major insurance company, to
16   Starr International Company and C.V. Starr & Co., the Andy Warhol Foundation, and several
17   hedge funds. Mr. Gravante is a longtime member of Law Dragon’s 500 Leading Lawyers in
18   America and of New York’s Best Lawyers. Nick was recently recognized as one of Benchmark
19   Litigation’s Top 100 Trial Lawyers in America for 2017. He has also been selected to Super
20   Lawyers every year since 2006 and was named a Top Business Litigation Attorney for NY in
21   2017. Mr. Gravante earned his J.D. with honors from Columbia Law School.
22          28.     For this case, Mr. Gravante was involved in formulating the initial case strategy,
23   preparing the Complaint, and helping to bring in co-counsel to assist BSF in handling this case.
24          29.     Sean Rodriguez: Mr. Rodriguez is a Partner at BSF’s San Francisco office, who
25   practices primarily in complex commercial litigation, with particular emphasis on antitrust,
26   intellectual property, technology, and finance. Mr. Rodriguez was a leading member of the team
27   representing a U.S. maker of solar panels in litigation with a major electric utility. The client won
28                                                    12
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 1   at every stage of the case, from the U.S. District Court to the Ninth U.S. Circuit Court of Appeals,
 2   reaching a settlement as the case was about to be argued before the U.S. Supreme Court. Mr.
 3   Rodriguez also successfully represented hundreds of thousands of workers in a wage-fixing class
 4   action that resulted in 2019 in one of the largest wage recoveries in years, and he is a regular
 5   speaker on class action issues. He represented American Express from the government’s pre-
 6   complaint investigation in 2009 through a two-month trial in 2015. Mr. Rodriguez clerked for
 7   Judge Mariana Pfaelzer of the United States District Court for the Central District of California,
 8   and received his J.D. from Stanford Law School.
 9          30.     For this case, Mr. Rodriguez was involved in assisting with the initial case
10   investigation, responding to Google’s Motion to Dismiss, and crafting Plaintiffs’ expert strategy.
11   Mr. Rodriguez was also involved in vetting potential class representatives.
12          31.     Meredith Schultz: Ms. Schultz is a Partner at BSF’s Fort Lauderdale office,
13   whose practice involves counseling clients in the field of data privacy, including the European
14   Union’s General Data Protection Regulation (“GDPR”). Ms. Schultz advises large U.S. and
15   multinational companies on data privacy, GDPR and electronic discovery matters, and she is a
16   member of multiple drafting committees for the Sedona Conference, a research and educational
17   institute dedicated to the advanced study of law and policy, and whose work is often adopted into
18   law by federal courts. Ms. Schultz is a Certified Information Privacy Professional (CIPP/US) and
19   a Certified Information Privacy Manager (CIPM). She is also the leader of the firm's e-discovery
20   practice group. Prior to joining BSF, Meredith served as a law clerk to the Hon. Donald M.
21   Middlebrooks of the Southern District of Florida, and graduated from the University of Chicago
22   Law School.
23          32.     For this case, Ms. Schultz was involved in the discovery process, including
24   assisting with the development of discovery strategy, preparing letter briefs, and conducting
25   research on evidence spoliation and sanctions.
26          33.     Jon Mills: Mr. Mills is Counsel at BSF’s Miami office, who has appeared in
27   courts across the country on matters including privacy issues, cybersecurity, constitutional issues,
28                                                   13
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 1   voting rights, and defamation. His experience also includes appellate practice, and he has
 2   represented clients in the Florida Supreme Court more than 30 times. He has litigated issues
 3   involving international jurisdiction and constitutional issues involving presidential budget
 4   cutbacks, laws protecting victim’s privacy, a governor’s gaming compact with Indians, Florida
 5   reapportionment plans, and proposed constitutional initiatives. He has been counsel in high-
 6   profile litigation, including protecting privacy rights of the families of Dale Earnhardt, Giannni
 7   Versace, Dawn Brancheau (the trainer who died in an accident at SeaWorld), and others. He is a
 8   recognized thought leader on privacy and cybersecurity, having written multiple books and
 9   articles on privacy and security including: “Privacy in the New Media Age” and “Privacy the
10   Lost Right” (Oxford University Press). He has taught privacy to judges and lawyers worldwide,
11   lectured in Latin America as part of the U.S. Department of State’s Speakers Program, and
12   presented continuing legal education courses on privacy and security to corporate leadership and
13   general counsel. He has provided commentary to multiple media sources, including The New
14   York Times, Wall Street Journal, PBS, CBS, BBC, The Guardian, and many others. Mr. Mills
15   earned his J.D. from the University of Florida Levin College of Law, where he graduated with
16   honors and Order of the Coif.
17           34.     For this case, Mr. Mills was involved in vetting potential testifying and consulting
18   expert witnesses for this case. Mr. Mills also helped to develop case strategy, case themes, and
19   liability theories at the outset of this litigation.
20           35.     Melissa Zonne: Ms. Zonne, Counsel at BSF’s Los Angeles office, focuses her
21   practice on business litigation, including partnership, contract, and corporate asset disputes, and
22   a variety of real estate cases including landlord-tenant matters and construction defect. She also
23   has a robust employment practice, handling both single plaintiff and class action matters with
24   claims including discrimination, harassment, wage and hour, and workplace accidents involving
25   injuries and fatalities. Ms. Zonne has successfully represented both plaintiffs and defendants in
26   trial in federal and state court, and in private arbitration. She is also experienced in guiding clients
27

28                                                 14
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 1   through mediation, agency investigations and hearings, administrative hearings, and appeals. Ms.
 2   Zonne graduated from the University of Southern California, Gould School of Law.
 3          36.     For this case, Ms. Zonne conducted research for and prepared pocket briefings in
 4   preparation for trial, as well as prepared materials for Plaintiffs’ fee approval motion.
 5          37.     Rossana Baeza: Ms. Baeza, a senior Associate at BSF’s Miami office, focuses
 6   on complex and appellate litigation. She has been involved in multidistrict litigation proceedings,
 7   such as the Takata Airbag MDL class action and the National Prescription Opiate MDL. She
 8   represented the Cherokee Nation in the MDL’s tribal bellwether case, which secured a $75
 9   million settlement against the opioid distributors. Ms. Baeza has extensive experience in motion
10   practice and briefing, including helping win dismissals of claims, helping successfully oppose
11   dispositive motions, and successfully obtaining a reversal in an appeal before the U.S. Court of
12   Appeals for the Tenth Circuit. Ms. Baeza graduated from Washington and Lee University School
13   of Law.
14          38.     For this case, Ms. Baeza was instrumental in conducting the pre-suit investigation,
15   analyzing Google’s disclosures, and preparing the initial complaint, and she also played a lead
16   role in vetting potential class representatives and responding to public inquiries. Ms. Baeza was
17   also actively involved in Plaintiffs’ offensive discovery, including drafting Plaintiffs’ requests
18   for production and interrogatories to Google. Ms. Baeza drafted multiple discovery briefs,
19   including the motion to compel the deposition of the head of Chrome Privacy and Incognito
20   Mode, Sabine Borsay. She also co-drafted several critical motions, including the opposition to
21   Google’s Daubert motion on Michael Lasinski. Ms. Baeza helped prepare all of the Named
22   Plaintiffs for their depositions and defended the deposition of Named Plaintiff Monique Trujillo.
23   She also prepared multiple deposition outlines for lead attorneys, second chaired several
24   important depositions, and took the deposition of Rory McClelland, a key former Google
25   employee.
26          39.     M. Logan Wright: Mr. Wright is an Associate at BSF’s Los Angeles office where
27   he represents both plaintiffs and defendants in litigation in federal and state courts, as well as in
28                                                   15
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 1   arbitration under major arbitral rules. Before joining the firm, Mr. Wright practiced complex
 2   commercial litigation at another international law firm and served as General Counsel &
 3   Legislative Assistant for a member of the U.S. House of Representatives. Mr. Wright clerked for
 4   the Honorable Thomas Barber of the United States District Court for the Middle District of
 5   Florida and graduated with honors from Columbia Law School.
 6           40.     For this case, since joining the team in August 2022, Mr. Wright co-drafted major
 7   briefs filed by Plaintiffs, including Plaintiffs’ response to the Court’s order to show cause as to
 8   why Google should not be further sanctioned and Plaintiffs’ opposition to Google’s motion for
 9   summary judgment. Mr. Wright also prepared supporting materials and hearing outlines for
10   major hearings, including on class certification, supplemental sanctions, summary judgment and
11   pretrial motions. Mr. Wright also prepared for and second chaired multiple depositions, was the
12   principal BSF associate in charge of managing the mock jury exercises, and prepared materials
13   in preparation for mediation and trial.
14           41.     Lauren LaVare: Ms. LaVare is an Associate at BSF’s San Francisco office,
15   where she represents plaintiffs and defendants in complex trial and appellate litigation, focusing
16   on data privacy and security, class actions, and antitrust. Ms. LaVare advises clients in business
17   and consumer litigation involving privacy class actions, regulatory matters, and antitrust issues,
18   including data misuse, wiretap acts, and consumer data reporting. Ms. LaVare graduated magna
19   cum laude and order of the coif from American University.
20           42.     For this case, Ms. LaVare assisted in various legal research tasks and preparing
21   materials for major hearings, including the class certification, issue certification, and
22   supplemental sanctions. Ms. LaVare also conducted legal research, including with Plaintiffs’
23   opposition to Google’s motion for summary judgment. Ms. LaVare also assisted in preparing
24   materials in preparation for trial.
25           43.     Nicholas Santos: Mr. Santos is an Associate at BSF’s San Francisco office,
26   whose practice focuses on copyright, trademark, privacy, and complex commercial class actions
27   in the technology sector. Prior to joining BSF, Mr. Santos worked as an Associate in the San
28                                                 16
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 1   Francisco office of another major law firm. Mr. Santos graduated from Duke University School
 2   of Law, where he was a member of the Duke Law Journal.
 3          44.     Since joining BSF in February 2024, Mr. Santos conducted research and assisted
 4   in preparing materials for Plaintiffs’ motion for settlement approval.
 5          45.     Erika Nyborg-Burch: Ms. Nyborg-Burch was an Associate at BSF’s San
 6   Francisco office until June 2023, during which time she represented plaintiffs and defendants in
 7   complex trial and appellate litigation. Her practice focused on high-stakes commercial disputes
 8   and class actions. Ms. Nyborg-Burch was also the pro bono liaison for the firm’s San Francisco
 9   office and maintained an active pro bono practice. Before joining the firm, she practiced civil
10   rights litigation with the ACLU and worked as an immigration public defense attorney at The
11   Bronx Defenders. Ms. Nyborg-Burch clerked for the Honorable Thomas L. Ambro of the United
12   States Court of Appeals for the Third Circuit and graduated from Yale Law School.
13          46.     For this case, Ms. Nyborg-Burch was actively involved in Plaintiffs’ offensive
14   discovery. She drafted discovery requests to Google and Plaintiffs’ letter brief requesting
15   discovery, including deposition testimony from Google CMO Lorraine Twohill. Ms. Nyborg-
16   Burch also drafted portions of Plaintiffs’ sanctions briefing and other significant motions and
17   conducted legal research in support of important motions, including Plaintiffs’ motion for class
18   certification. In addition to research and writing, Ms. Nyborg-Burch prepared lead attorneys for
19   multiple discovery hearings and depositions. She second chaired several important depositions,
20   and she took the depositions of Google employees Steve Ganem and Deepti Bhatnagar.
21          47.     Augusto Cividini: Mr. Cividini was an Associate at BSF’s Miami office until
22   February 2024, during which time he focused on representing plaintiffs and defendants in
23   complex litigation, including multidistrict litigation, class actions, antitrust lawsuits, and
24   commercial disputes. Mr. Cividini was also co-chair of the firm’s Hispanic/Latinx Affinity
25   Group and a member of the firm’s LGBTQ+ Affinity Group. Before joining the firm, Mr.
26   Cividini worked with local advocacy organizations. Mr. Cividini graduated from Georgetown
27   University Law Center.
28                                                17
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 1          48.     For this case, Mr. Cividini reviewed documents and prepared outlines for the
 2   depositions of Martin Shelton and Sabine Borsay. Mr. Cividini also reviewed and analyzed
 3   documents for other depositions, including the deposition of Lorraine Twohill. He also played a
 4   significant role in connection with expert development and expert discovery. Mr. Cividini also
 5   conducted research on a variety of topics, including supporting Plaintiffs’ CIPA claim, Daubert
 6   challenges, and discovery disputes. Mr. Cividini also assisted in preparing for the hearing on the
 7   Court’s order to show cause as to why Google should not be further sanctioned.
 8          49.     Antonio Ingram: Mr. Ingram was an Associate at BSF’s San Francisco office
 9   until September 2021, during which time he focused on complex litigation in federal and state
10   court. Prior to joining the firm, Mr. Ingram worked at another major law firm on a wide array of
11   litigation matters, including white collar criminal cases and consumer class actions. Mr. Ingram
12   was a law clerk in the Eastern District of Louisiana and the Fourth Circuit Court of Appeals. He
13   received his J.D. from the University of California, Berkeley School of Law.
14          50.     For this case, Mr. Ingram conducted legal research on various topics, including
15   appellate precedent on the Federal Wiretap Act, class certification, and discovery-related issues.
16   Mr. Ingram was also actively involved in the discovery process, where he prepared multiple letter
17   briefs, including on custodians and requests for production. He also assisted in preparing,
18   finalizing, and filing Plaintiffs’ first amended complaint.
19          51.     John Gerardi: Mr. Gerardi is a former Associate at BSF’s office in Washington,
20   D.C. While at BSF, Mr. Gerardi’s practice centered on cross-border disputes and investigations,
21   as well as other high-stakes securities and financial litigation. His practice has touched on matters
22   involving Asia, Europe, and South America, where he has gathered substantial experience in
23   complex commercial disputes in both national courts and arbitral forums. Since starting at Boies
24   Schiller as a summer associate, Mr. Gerardi has managed all aspects of litigation, from pre-suit
25   investigations through trial. Mr. Gerardi earned his J.D. magna cum laude from the American
26   University Washington College of Law, graduating Order of the Coif.
27

28                                                 18
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 1          52.     For this case, Mr. Gerardi conducted research and prepared for expert witnesses
 2   depositions, including the deposition of Google expert On Amir and Plaintiffs’ expert Bruce
 3   Strombom. Mr. Gerardi was also involved in the legal research for Plaintiffs opposition to
 4   Google’s Daubert motion of Plaintiffs’ expert Michael Lasinski
 5          53.     Alexander Konik: Mr. Konik is a former Associate at BSF’s Oakland and San
 6   Francisco Offices. While at the firm, Mr. Konik represented clients on a diverse mix of complex
 7   commercial matters, including data privacy and technology litigation. Prior to joining BSF, Mr.
 8   Konik clerked for a Judge on the United States District Court for the Northern District of
 9   California. He received his J.D. from Columbia Law School.
10          54.     For this case, Mr. Konik conducted legal research to support the causes of action
11   raised in Plaintiffs’ Complaint, and he was involved in vetting potential class representatives.
12          55.     Yanni Lin: Ms. Lin is a former Associate at BSF’s San Francisco Office. While
13   at the firm, Ms. Lin advised on state and federal regulatory laws, data protection, and data breach
14   response, and represents clients in high-stakes intellectual property and privacy litigation. Ms.
15   Lin is a Certified Information Privacy Professional (CIPP/US). She worked with clients from a
16   variety of industries, including digital media, gaming, mobile and professional services.
17          56.     For this case, Ms. Lin conducted research in support of and assisted in developing
18   the strategy for Plaintiffs’ opposition to Google’s motion to dismiss.
19          57.     Anna Christian: Ms. Christian is a BSF Staff Attorney who reviewed documents
20   Google produced in discovery in preparation for depositions and to inform Plaintiffs’ litigation
21   strategy. She also assisted in other projects, including compiling documents for the depositions
22   of Rory McClelland, Sabine Borsay, Steve Ganem, and Jonathan McPhie.
23          58.     Alexander Gruel: Mr. Gruel is a BSF Staff Attorney who reviewed documents
24   Google produced in discovery in preparation for depositions and to inform Plaintiffs’ litigation
25   strategy. He also assisted in other projects, including reviewing documents in preparation for the
26   depositions of Sabine Borsay, Ramin Halavati, Eric Miraglia, and Dr. Adrienne Porter Felt.
27

28                                                19
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 1          59.     Erik Palm: Mr. Palm is a former BSF Staff Attorney who reviewed documents
 2   Google produced in discovery in preparation for depositions and to inform Plaintiffs’ litigation
 3   strategy. He also assisted in other projects, including reviewing documents for the depositions of
 4   Sabine Borsay, Rory McClelland, Chris Palmer, and Martin Sramek.
 5          60.     James Sliter: Mr. Sliter is a BSF Staff Attorney who reviewed documents Google
 6   produced in discovery in preparation for depositions and to inform Plaintiffs’ litigation strategy.
 7   He also assisted in other projects, including reviewing documents in preparation for the
 8   depositions of Abdel Karim Mardini, Sabine Borsay, Lorraine Twohill, Martin Sramek, and
 9   Jonathan McPhie.
10          61.     Paralegals: Ms. Theresa Rodriguez, Ms. Andrea Alaya, and Mr. Louis Salazar
11   provided paralegal support for BSF’s attorneys at various stages of this case. Other paralegals
12   who also provided support are Ms. Vicky Alaya, Ms. Ashley Hermann, Ms. Tina Keleshyan, Mr.
13   Jan Kunstyr, Ms. Diane Larghi, Ms. Gabriela Romero Garcilazo, Ms. Sequoia Tully, and Ms.
14   Judy Wikel.
15          62.     Administrative Staff: Mr. Christopher Arborn is an administrative professional
16   based in BSF’s Armonk Office. Mr. Arborn assists David Boies in compiling materials for
17   review, including preparing hearing binders, legal materials, and documents for execution.
18                  3. BSF Attorneys’ Fees
19          63.     BSF routinely represents both plaintiffs and defendants in large class actions.
20   When representing Plaintiffs on a contingent fee basis, BSF routinely seeks a substantial return
21   on its investment in time and costs commensurate with the risks and opportunity costs, including
22   working for paying clients on an hourly basis. BSF took this case expecting to, if successful,
23   receive a risk enhancement. BSF litigated this case entirely on a contingent fee basis.
24          64.     The schedule below contains a summary of the time spent by BSF attorneys,
25   paralegals, and professional support staff on this case, the 2024 billing rates for each individual,
26   and the firm’s lodestar calculation using 2024 billing rates or equivalent 2024 billing rates for
27   those who left the firm prior to 2024. All attorneys and staff, including myself, keep
28                                               20
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 1   contemporaneous and reliable time records. This schedule was prepared from those
 2   contemporaneous time records.
 3
                                     BSF Attorneys’ Fees
 4
         Timekeeper         Year of   Sum of Work        Rate               Lodestar Based on
 5                         Admission     Hours                                Hours & Rate
      Partner
 6    Anderson, Alison    2011           350.1             $   1,230.00     $   430, 623.00
      Boies, Alexander    2016           1070.9            $   1,040.00     $   1,113,736.00
 7
      Boies, David        1967           770.2             $   2,330.00     $   1,794,566.00
 8    Gravante,           1986           12.9              $   1,350.00     $   17,415.00
      Nicholas
 9    Lee, James          2006           1594              $   1,210.00     $   1,928,740.00
      Mao, Mark           2005           3400.7            $   1,260.00     $   4,284,882.00
10    Reblitz-            2005           3399.3            $   1,280.00     $   4,351,104.00
11    Richardson, Beko
      Rodriguez, Sean     2009           22.7              $   1,250.00     $   28,375.00
12    Schultz, Meredith   2006           28.6              $   1,020.00     $   29,172.00
      Stein, Joshua       2014           189.7             $   1,130.00     $   214,361.00
13    Counsel
14    Mills, Jon          1972           30.8              $   1,380.00     $   42,504.00
      Zonne, Melissa      2014           64.8              $   1,040.00     $   67,392.00
15    Associate
      Baeza, Rossana      2018           1789.5            $   920.00       $   1,646,340.00
16    Cividini, Augusto   2021           365.3             $   790.00       $   288,587.00
17    Gerardi, John       2019           85.9              $   800.00       $   68,720.00
      Ingram, Antonio     2014           213.9             $   790.00       $   168,981.00
18    Konik, Alexander    2014           49.1              $   810.00       $   39,771.00
      LaVare, Lauren      2021           405.7             $   790.00       $   320,503.00
19    Lin, Yanni          2016           56.5              $   730.00       $   41,245.00
      Nyborg-Burch,       2017           1286.7            $   860.00       $   1,106,562.00
20
      Erika
21    Santos, Nicholas    2021           42.3              $   820.00       $   34,686.00
      Wright, Logan       2018           1552.4            $   850.00       $   1,319,540.00
22    Staff Attorney
      Christian, Anna     2007           668.3             $   475.00       $   317,442.50
23
      Gruel, Alexander    2010           551.8             $   475.00       $   262,105.00
24    Palm, Erik          2018           544.2             $   400.00       $   217,680.00
      Sliter, James       2005           644.4             $   475.00       $   306,090.00
25    Paralegal
      Ayala, Andrea                      150.5             $   350.00       $   52,675.00
26
      Ayala, Vicky                       73.6              $   330.00       $   24,288.00
27    Hermann, Ashley                    22.9              $   420.00       $   9,618.00

28                                                21
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      Keleshyan, Tina                         99                 $    380.00        $   37,620.00
 1
      Kunstyr, Jan                            5.4                $    420.00        $   2,268.00
 2    Larghi, Diane                           51.3               $    390.00        $   20,007.00
      Rodriguez,                              226.8              $    390.00        $   88,452.00
 3    Theresa
      Romero Garcilazo,                       137.5              $    390.00        $   53,625.00
 4
      Gabriela
 5    Salazar, Louis                          168.6              $    420.00        $   70,812.00
      Tully, Sequoia                          6                  $    390.00        $   2,340.00
 6    Wikel, Judy                             30.3               $    310.00        $   9,393.00
      Administrative Staff
 7    Arborn,                                 154.1              $ 390.00           $   60,099.00
 8    Christopher

 9    Grand Total                             20316.7                               $   20,872,319.50

10           65.     The hourly rates reflected above are the firm’s standard 2024 hourly rates for
11   those attorneys who remain at the firm as of this filing. For those formerly with BSF, the fees
12   reflect their rate at the time of their departure. BSF’s fee-paying clients pay these rates for hourly
13   work.
14           66.     The hours reflected above are reasonable given the complexity, novelty, and
15   length of the litigation and the significant volume of discovery required. Given the claims
16   asserted, the Plaintiffs’ theory of liability, and the requisite fact and expert discovery needed to
17   prove Plaintiffs’ claims regardless of the type of relief sought, the lack of a damages class made
18   no difference to the work BSF needed to do (and did) on behalf of the classes. With no guarantee
19   of recovering any of its fees or costs, BSF made every effort to staff and litigate this case as
20   efficiently as possible.
21           67.     Notably, no associate has a rate exceeding $920 per hour. Other than Jon Mills,
22   who is the former Dean of the University of Florida law school and one of the most esteemed
23   data privacy scholars in the country, no counsel has a rate exceeding $1,050 per hour. Other than
24   BSF’s founder and chairman, David Boies, no partner has a rate exceeding $1,350 per hour.
25           68.     The $2,330 hourly rate for David Boies is reasonable in light of his experience
26   and stature as one of America’s most preeminent litigators and the complex nature of this
27   litigation. Mr. Boies focused on overseeing overall case strategy, preparing for and conducting
28                                                  22
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 1   oral arguments on the most important motions (including sanctions and summary judgment), and
 2   leading the settlement negotiations with Google.
 3                  4. BSF’s Costs
 4          69.     As shown in the schedule below, BSF advanced a total of $407,396.66 in un-
 5   reimbursed costs, without any guarantee of recoupment. These costs were reasonably necessary
 6   to litigate this case, and they are of the type BSF routinely incurs in litigation and are typically
 7   paid by BSF’s fee-paying clients.
 8
                                               BSF Costs
 9
                                Cost Description                               Sum of Amount
10      Conference Costs                                                     $ 3,310.65
        Conference Cost - Conference and Meeting Room                        $ 1,500.00
11      Conference Cost - Meals - Local                                      $ 1,810.65
        Court Costs                                                          $ 4,830.20
12
        Court Costs - Filing Fees                                            $ 1,458.90
13      Court Costs - Other                                                  $ 702.30
        Court Costs - Transcript Costs                                       $ 2,669.00
14      Document Reproduction - Outside Services                             $ 4,292.20
        Library - Publications                                               $ 12.99
15
        Local Transportation                                                 $ 2,994.81
16      Local Transportation - Car Services                                  $ 2,678.27
        Local Transportation - Mileage and Tolls                             $ 95.54
17      Local Transportation - Parking                                       $ 221.00
        Meals                                                                $ 4,652.97
18
        Travel - Working Meals                                               $ 4,121.84
19      Working Meals - Local                                                $ 531.13
        Messenger and Couriers                                               $ 5,859.16
20      Messenger and Couriers - Messenger Services                          $ 1,793.35
        Messenger and Couriers - Overnight Couriers                          $ 4,065.81
21      Purchases - Computer Equipment (under $1,000)                        $ 114.82
22      Research Charges                                                     $ 262,665.34
        Computer Research - Lexis                                            $ 13,998.24
23      Computer Research - Other                                            $ 2,494.70
        Computer Research - Westlaw                                          $ 249,227,76
24      Research - Other Research Services                                   $ 1,564.10
25      Telephone - Conference Call Charges                                  $ 147.56
        Travel Costs                                                         $ 118,586.40
26      Travel - Airfare                                                     $ 27,046.36
        Travel - Car Rental                                                  $ 1,408.62
27

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        Travel - Car Services                                                  $   5,282.49
 1
        Travel - Conference Meals                                              $   14,302.04
 2      Travel - Lodging Costs                                                 $   68,508.88
        Travel - Mileage and Tolls                                             $   110.09
 3      Travel - Other                                                         $   366.68
        Travel - Parking                                                       $   1,536.24
 4
        Travel - WiFi/Internet                                                 $   25.00
 5      Grand Total                                                            $   412,086.56

 6           70.     BSF has maintained reliable, individual records substantiating these costs, and

 7   this schedule was prepared from those records. As with fees, Plaintiffs have submitted those

 8   records to Google in advance of filing this Motion, and Plaintiffs are submitting them to this

 9   Court with this filing, for in camera review. This schedule reflects costs through March 31, 2024.

10                   5. Common Litigation Fund

11           71.     To cover much of the joint costs necessary in pursuing this litigation, the three

12   lead counsel firms pooled resources into a common litigation fund. The schedule below provides

13   topline summaries of the costs paid through this common fund. I personally managed this fund

14   on behalf of all three firms throughout this litigation, and I attest that these figures are accurate.

15
                                Plaintiffs’ Common Litigation Fund Costs
16    Experts and Consultants                                   Total                 Amount
      233 Analytics, LLC                                                              $ 350,153.17
17
      Analysis & Research Inc.                                                        $ 213,281.18
18    Angeion Group                                                                   $ 14,805.00
      Ankura Consulting Group, LLC                                                    $ 1,554,191.27
19    Avia Global Consulting Corporation                                              $ 1,212,563.67
      Concur IP Consulting                                                            $ 439,260.00
20
      Counterpane Systems LLC                                                         $ 292,482.38
21    Full Nelson Investigations / Dave Nelson                                        $ 17,600.00
      JE Hochman & Associates LLC                                                     $ 447,346.50
22    Keegan & Donato Consulting, LLC                                                 $ 279,651.25
      Samuel Issacharoff                                                              $ 138,525.37
23
      Chris F. Kemerer PhD LLC                                                        $ 15,000.00
24                                                              Total                 $ 4,974,859.79
      Document Platform System
25    International Litigation Services, LLC                                          $    309,416.36
26    Technical Special Master
      Accel Consulting LLC                                                            $    336,969.97
27    Evidentiary Special Master

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     JAMS                                                                    $   22,652.97
 1
     Jury Consultant & Mock Jury Exercises
 2   R&D Strategic Solutions, LLC                                            $   603,558,78
     Mediation
 3   Phillips ADR                                                            $   125,307.50
     Court Reporters & Transcription Services
 4
     Ana Maria Dub                                                           $   141.70
 5   Echo Reporting, Inc.                                                    $   88.80
     Esquire Deposition Solutions                                            $   7,970.40
 6   Huseby Global Litigation                                                $   17,684.34
     Irene Rodriguez                                                         $   383.70
 7
     Lee-Anne Shortridge                                                     $   632.50
 8   Magna Legal Services                                                    $   31,224.20
     MK Litigation Solutions, Inc.                                           $   199.65
 9   Pamela Batalo Hebel                                                     $   50.40
     Raynee H. Mercado                                                       $   503.70
10
     Summer A. Fisher                                                        $   241.20
11   Veritext, LLC                                                           $   267,828.10
                                                              Total          $   326,948.69
12   Printing & Office Services
     Array                                                                   $   2,202.85
13   Avalon Document Services                                                $   3,551.74
14   Digital One Legal Solutions                                             $   37,562.11
     Empire Discovery LLC                                                    $   1,016.41
15   Excelsior Digital                                                       $   2,434.34
     First Legal                                                             $   13,812.18
16   Mainstay Legal                                                          $   224.94
17   Sitelogistix                                                            $   1,595.62
     SmartSource                                                             $   1,009.93
18   Summit Reprographics                                                    $   1,718.09
     United Litigation Discovery                                             $   4,304.44
19                                                            Total          $   69,432.65
20   Other Vendors & Miscellaneous Costs
     4Discovery, LLC                                                         $   46,990.33
21   Act of Communication                                                    $   4,687.50
     Bailey Glasser LLP                                                      $   22,605.00
22   Bleichmar Fonti & Auld LLP                                              $   1,448.03
23   Catch Marketing Services Inc.                                           $   2,400.00
     Graphic Testimony                                                       $   15,743.75
24   Legal Media, Inc.                                                       $   83,921.22
     Nationwide Legal, LLC                                                   $   1,472.30
25   P.I. Services                                                           $   275.00
     Rory McClelland                                                         $   2,454.27
26
     Ruth Levine Ekhaus                                                      $   140.70
27                                                            Total          $   182,138.10

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 1
                                                                   TOTAL          $   6,951,284.81
 2
            72.     Each category of costs and topline entry is further described below. All of these
 3
     costs are normally paid by fee-paying clients.
 4
                           a. Experts
 5
            73.     233 Analytics, LLC is the entity Class Counsel contracted with to retain Mr.
 6
     Christopher Thompson, an expert who consulted on the technical aspects of this case. Mr.
 7
     Thompson assisted with interpreting Google’s technical discovery responses and documents,
 8
     including but not limited to for the Special Master portion of the discovery process. Mr.
 9
     Thompson was responsible for overseeing and architecting the testing and data capture process
10
     used as part of the Special Master process. Mr. Thompson also supported Mr. Jonathan Hochman,
11
     Plaintiffs’ testifying technical expert, by assisting with Mr. Hochman’s preparation of his three
12
     expert reports (Dkts. 608-11, 608-12, 990-1), including authoring custom software to process and
13
     extract data from the over 100 gigabytes of raw data produced as part of the Special Master
14
     process and the Plaintiff’s preserved data. Mr. Thompson also authored numerous declarations,
15
     including in support of Plaintiffs’ sanctions motions, disputes over Google’s preservation
16
     obligations, and the recently filed settlement approval motion. Dkts. 535-17, 545-7, 560-4, 655-
17
     4, 1097-16. He also served as a testifying witness at the April 2022 evidentiary hearing overseen
18
     by Magistrate Judge van Keulen, which resulted in the first of two sanctions orders against
19
     Google. See Dkt. 588. The costs charged by 233 Analytics, LLC include fees paid for the services
20
     of Mr. Thompson’s assistant, Jake Taylor, who assisted Mr. Thompson with his work.
21
            74.     Analysis & Research, Inc. is the corporate entity Class Counsel contracted with
22
     to retain Mr. Jay Bhatia, a technical expert who analyzed how Google’s tracking beacons operate
23
     and tested how these beacons function. Mr. Bhatia also supported Mr. Jonathan Hochman,
24
     Plaintiffs’ testifying technical expert, by assisting with Mr. Hochman’s preparation of his three
25
     expert reports. Dkts. 608-11, 608-12, 990-1. Mr. Bhatia was also instrumental in reviewing the
26
     source code Google produced during the sanctions process, and he drafted a declaration in
27

28                                                26
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 1   support of Plaintiffs’ second sanctions motion. Dkt. 833-4. Mr. Bhatia also assisted with
 2   reviewing technical documents and data produced by Google, including in connection with the
 3   Special Master process. Mr. Bhatia worked on this case from early on in fact discovery through
 4   settlement. These costs charged by Analysis & Research Inc. include fees paid for the services
 5   of Mr. Bhatia’s colleague, Vivek Shinde, who assisted Mr. Bhatia with all of his work.
 6          75.     Angeion Group is the corporate entity Class Counsel contracted with to retain
 7   Mr. Steven Weisbrot, Plaintiffs’ class action notice expert in this case. Mr. Weisbrot developed
 8   Plaintiffs’ proposed class notice plan, outlined in the Weisbrot Report. Dkt. 609-16. Mr. Weisbrot
 9   was deposed on the opinions proffered in this report.
10          76.     Ankura Consulting Group, LLC is the corporate entity Class Counsel
11   contracted with to retain Mr. Michael Lasinski, Plaintiffs’ damages expert in this case. Mr.
12   Lasinski, with assistance from others at Ankura, prepared an expert report quantifying the
13   number of class members, explaining how Googles uses and monetizes private browsing data,
14   and offering various methodologies for calculating damages, among other opinions. Dkt. 608-9.
15   Mr. Lasinski also sat for deposition on the opinions proffered in this report, and he was prepared
16   to testify at trial on behalf of the Rule 23(b)(2) classes and the Named Plaintiffs.
17          77.     Avia Global Consulting Corporation is the entity Class Counsel contracted with
18   to retain Dr. Lillian Dai, a non-testifying expert hired to consult on the technical aspects of this
19   case. Dr. Dai was fundamental to understanding the mechanics of how Google collects, stores,
20   and uses private browsing data, and how that data may be used to identify individuals. Dr. Dai
21   oversaw the work done by the Concur IP engineers, whom Class Counsel hired to review
22   Google’s trove of technical document productions. She contributed to data preservation
23   discussions and was instrumental in reviewing material and data produced through the Special
24   Master process, in some cases by attending meet-and-confers supervised by the Special Master
25   and attended by Google engineers. Dr. Dai supported Mr. Jonathan Hochman, Plaintiffs’
26   testifying technical expert, by providing significant assistance for each of his three expert reports.
27   Dkts. 608-11, 608-12, 990-1. Dr. Dai also provided support for Mr. Lasinski’s report. Further,
28                                                27
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 1   Dr. Dai assisted with depositions of Google’s experts and employees, the sanctions proceedings
 2   and Plaintiffs’ opposition to Google’s motion for summary judgment, and Dr. Dai advised Class
 3   Counsel on the technical aspects of the settlement.
 4          78.     Concur IP Consulting was retained to provide eleven engineers to review and
 5   analyze some of Google’s highly technical document productions. Overseen by Dr. Lillian Dai,
 6   their work was instrumental for selecting and preparing for depositions of Google employees,
 7   identifying materials that Plaintiffs’ testifying experts could rely on for their reports, and
 8   developing the litigation strategy in this case.
 9          79.     Counterpane Systems LLC is the entity Class Counsel contracted with to retain
10   Professor Bruce Schneier, an international security technologist and Plaintiffs’ privacy expert in
11   this case. Professor Schneier prepared expert and rebuttal reports addressing, among other issues,
12   how privacy has historical roots in political liberty, commercial fairness, and economic
13   competition, and how Google’s conduct in this case puts users at risk, including by storing
14   identifying data relating to users’ sensitive private browsing activities. Dkts. 608-6, 608-7.
15   Professor Schneier sat for deposition and was prepared to testify at trial on behalf of the Rule
16   23(b)(2) classes and the Named Plaintiffs. These costs include fees paid for the services of
17   Professor Schneier’s research and writing assistant, Kathleen Seidel.
18          80.     Full Nelson Investigations is the entity Class Counsel contracted with to retain
19   Mr. Dave Nelson, who formerly worked on cybercrime investigations at the Federal Bureau of
20   Investigation. Mr. Nelson and his team prepared the Nelson Rebuttal Report, which rebutted
21   certain opinions of Google expert Georgios Zervas related to how users can be identified from
22   private browsing data. Dkt. 608-8. Mr. Nelson was deposed on the opinions he proffered in this
23   report. The Court granted Google’s motion to exclude Mr. Nelson from testifying at trial. Dkt.
24   803.
25          81.     JE Hochman & Associates LLC is the entity Class Counsel contracted with to
26   retain Mr. Jonathan Hochman, Plaintiffs’ testifying technical expert in this case. Mr. Hochman
27   and his team prepared the Hochman Report and two Hochman Supplemental Reports, which
28                                                 28
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 1   addressed the technical aspects of how Google collects, stores, and uses private browsing data
 2   and how that data can be used to identify individuals, including through substantial analyses of
 3   the data that Google produced through the Special Master process. Dkts. 608-11, 608-12, 990-1.
 4   Mr. Hochman sat for deposition twice—over three days—and he was prepared to testify at trial
 5   on behalf of the Rule 23(b)(2) classes and the Named Plaintiffs. These costs charged by JE
 6   Hochman & Associates LLC include fees charged for the services of Mr. Hochman’s research
 7   and writing assistant, Julie Burns.
 8          82.     Keegan & Donato Consulting, LLC is the entity Class Counsel contracted with
 9   to retain Mr. Mark Keegan, Plaintiffs’ testifying survey expert in this case. He and his team
10   developed and conducted two different user surveys, which formed the basis of two expert
11   reports. Dkts. 608-10, 609-12. These reports included Mr. Keegan’s opinions about class
12   members’ private browsing usage as well as users’ understanding Google’s Incognito Splash
13   Screen. Mr. Keegan also rebutted the opinions offered by Google’s survey expert, On Amir. Mr.
14   Keegan sat for deposition and was prepared to testify at trial on behalf of the Rule 23(b)(2) classes
15   and the Named Plaintiffs.
16          83.     Professor Samuel Issacharoff is the Bonnie and Richard Reiss Professor of
17   Constitutional Law at New York University School of Law, who was retained by Class Counsel
18   to provide consulting services on a wide range of class action-related issues, including class
19   notice, issue certification, jury trial, and settlement. Professor Issacharoff also conducted oral
20   argument at the hearing on Plaintiffs’ motion for issue certification.
21          84.     Chris F. Kemerer PhD LLC, is the entity Class Counsel contracted with to retain
22   Dr. Chris Kemerer, the David M. Roderick Professor of Information Systems and Professor of
23   Business Administration at the University of Pittsburgh Joseph M. Katz Graduate School of
24   Business. Dr. Kemerer was retained as a potential privacy expert.
25                          b. Document Platform System
26          85.     International Litigation Services (“ILS”) was retained to provide the document
27   review and document production platform used by Class Counsel throughout this litigation. ILS
28                                                29
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 1   hosted the roughly one million documents that Google produced in this case, and when necessary,
 2   provided technical support to Class Counsel related to hosting these documents.
 3                           c. Technical Special Master
 4          86.       Accel Consulting LLC is the entity Class Counsel contracted with to retain
 5   Special Master Brush who, by Court order (Dkts. 219, 220), oversaw the process by which
 6   Google produced data to Plaintiffs, and ruled on certain technical discovery disputes referred to
 7   him by Magistrate Judge van Keulen.
 8                           d. Evidentiary Special Master
 9          87.       JAMS was contracted with to retain former Magistrate Judge Elizabeth LaPorte
10   to resolve pre-trial evidentiary disputes between Plaintiffs and Google, as ordered by this Court.
11   Dkt. 978.
12                           e. Jury Consultant and Mock Jury Exercises
13          88.       R&D Strategic Solutions, LLC is the jury consulting firm Class Counsel hired
14   to stage and manage two mock jury exercises, which Class Counsel conducted in preparation for
15   trial in November 2022 and May 2023, respectively. R&D Strategic Solutions also analyzed and
16   interpreted jury responses to key arguments Class Counsel tested during the jury exercises.
17                           f. Mediation
18          89.       Phillips ADR was contracted with for purposes of working with former District
19   Court Judge Layn Phillips, as mediator. The mediation was ultimately successful and resulted in
20   the proposed settlement, following many months of negotiations.
21                           g. Court Reporters and Transcription Services
22          90.       Ana Maria Dub was paid to provide transcription services for court proceedings.
23          91.       Echo Reporting, Inc. was paid to provide transcription services for the March
24   17, 2022, hearing before Magistrate Judge van Keulen.
25          92.       Esquire Deposition Solutions was retained to provide transcription services for
26   the first mock jury exercise held on November 9, 2022.
27

28                                                   30
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 1           93.    Huseby Global Litigation was paid to provide transcription services for a hearing
 2   before Special Master Brush on June 6, 2022.
 3           94.    Irene Rodriguez was paid to provide transcription services for court proceedings.
 4           95.    Lee-Anne Shortridge was paid to provide transcription services for court
 5   proceedings.
 6           96.    Magna Legal Services was retained to provide logistical, technical support
 7   services, and transcription and videographer services for certain depositions.
 8           97.    MK Litigation Solutions, Inc. was paid to provide transcription services for the
 9   August 4, 2022, hearing before Magistrate Judge van Keulen.
10           98.    Pamela Batalo Hebel was paid to provide transcription services for court
11   proceedings.
12           99.    Raynee H. Mercado was paid to provide transcription services for court
13   proceedings.
14           100.   Summer A. Fisher was paid to provide transcription services for court
15   proceedings.
16           101.   Veritext, LLC was retained to provide logistical, technical support services, and
17   transcription and videographer services for depositions throughout this litigation.
18                          h. Printing and Office Services
19           102.   Array was retained to provide printing services and prepare binders used for this
20   litigation.
21           103.   Avalon Document Services Inc. was retained to provide printing services and
22   prepare binders used for this litigation.
23           104.   Digital One Legal Solutions was retained to provide logistical support and
24   prepare materials for hearings.
25           105.   Empire Discovery LLC was retained to print and prepare binders used for this
26   litigation.
27

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 1          106.    Excelsior Digital was retained to provide logistical support, print documents, and
 2   prepare binders.
 3          107.    First Legal was retained to print, prepare, and deliver binders and courtesy copies
 4   of filings, including on many occasions to the Court.
 5          108.    Mainstay Legal was retained to print, prepare, and deliver binders.
 6          109.    Sitelogistix was retained to provide logistical and printing services for major
 7   hearings and mock jury exercises.
 8          110.    SmartSource was retained to provide printing and delivery services.
 9          111.    Summit Reprographics was retained to provide printing services.
10          112.    United Litigation Discovery was retained to print, prepare, and deliver binders.
11                          i. Other Vendors and Miscellaneous Costs
12          113.    4Discovery, LLC was retained to conduct forensic imaging of data produced
13   during the course of discovery, including data from the class representatives’ personal devices.
14          114.    Act of Communication was retained to provide deposition preparation services
15   for Plaintiffs’ expert witnesses.
16          115.    Bailey Glasser LLP was the attorney representing Rory McClelland (former
17   Google employee) at his deposition in February 2022.
18          116.    Bleichmar Fonti & Auld LLP was retained to provide investigation services to
19   vet potential class representatives.
20          117.    Catch Marketing Services Inc. was retained to provide consultation services
21   pertaining to Google’s location and user tracking technologies.
22          118.    Graphic Testimony was retained, due to a scheduling conflict which prevented
23   Legal Media from assisting, to assist in preparing graphics and presentation tools for the first
24   mock trial exercise in November 2022.
25          119.    Legal Media, Inc. was retained to provide graphics services and prepare
26   presentations throughout the litigation, including for hearings such as the sanctions hearings, the
27   class certification hearing, the second mock jury exercise in May 2023, and also for trial.
28                                                   32
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 1          120.    Nationwide Legal, LLC was retained to provide messaging and courier services.
 2          121.    P.I. Services was retained to serve a subpoena on Martin Shelton.
 3          122.    Rory McClelland connotes travel expenses paid for Mr. McClelland’s deposition
 4   (former Google employee) in February 2022. Mr. McClelland at the time resided in Germany,
 5   and was advised to travel outside of Germany to sit for his deposition. Class Counsel paid for his
 6   travel expenses to go to London to sit for the deposition, which was taken remotely.
 7          123.    Ruth Levine Ekhaus was retained to provide delivery services.
 8
     Dated: April 23, 2024
 9
                                                  By /s/ James W. Lee
10                                                James W. Lee (pro hac vice)
                                                  jlee@bsfllp.com
11
                                                  BOIES SCHILLER FLEXNER LLP
12                                                100 SE 2nd Street, Suite 2800
                                                  Miami, FL 33130
13                                                Telephone: (305) 539-8400
                                                  Facsimile: (305) 539-1304
14

15                                                Attorney for Plaintiff

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